                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

                                                 Chapter 11
    In re
                                                 Bankruptcy Case No. 20-10343 (LSS)
    Boy Scouts of America and
    Delaware BSA, LLC,1                          (Jointly Administered)
                     Debtors.

    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,

                     Appellants.
                                                 Case No. 22-cv-01237-RGA
    v.

    Boy Scouts of America, et al.,

                     Appellees.

                      CORPORATE DISCLOSURE STATEMENT

            Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Rule 8012 of the

Federal Rules of Bankruptcy Procedure, and Rule 26.1 and 28(a)(1) of the Federal

Rules of Appellate Procedure, Appellants The Continental Insurance Company and

Columbia Casualty Company hereby state as follows:

The Continental Insurance Company: The Continental Insurance Company, a




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 The Debtors in the chapter 11 cases, together with the last four digits of each
Debtor’s federal tax identification number, are as follows: Boy Scouts of America
(6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
Walnut Hill Lane, Irving, Texas 75038.
Pennsylvania insurance company is wholly owned by Continental Casualty

Company. Continental Casualty Company is wholly owned by The Continental

Corporation. The Continental Corporation is wholly owned by CNA Financial

Corporation. CNA Financial Corporation has issued shares to the public. Loews

Corporation owns the majority of the common stock of CNA Financial Corporation

and is publicly traded. No other corporation owns 10% or more of the common stock

of CNA Financial Corporation.

Columbia Casualty Company: Columbia Casualty Company, an Illinois insurance

company is wholly owned by Continental Casualty Company. Continental Casualty

Company is wholly owned by The Continental Corporation. The Continental

Corporation is wholly owned by CNA Financial Corporation. CNA Financial

Corporation has issued shares to the public. Loews Corporation owns the majority

of the common stock of CNA Financial Corporation and is publicly traded. No other

corporation owns 10% or more of the common stock of CNA Financial Corporation.

Dated: November 11, 2022        Respectfully submitted,

                                GOLDSTEIN & MCCLINTOCK LLLP

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